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                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.2)
                               Eastern Division

Hester Mendez, et al.
                                  Plaintiff,
v.                                                 Case No.: 1:18−cv−05560
                                                   Honorable Franklin U. Valderrama
The City of Chicago, et al.
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 11, 2025:


        MINUTE entry before the Honorable Franklin U. Valderrama: The Court has
reviewed the parties' joint position statement [611] regarding the Court's sealed Order
granting Defendants' motion for summary judgment as to Counts II and III as they relate
to the validity of the warrant. Based on the parties' agreement that no redactions are
necessary for the sealed Order, the Court directs the Clerk to unseal the Order [610].
Mailed notice. (jcm)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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